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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al., 1                                    )     Case No. 23-11069 (CTG)
                                                                     )
                             Debtors.                                )     (Jointly Administered)
                                                                     )

                       DEBTORS’ APPLICATION FOR
                    ENTRY OF AN ORDER AUTHORIZING
         THE RETENTION AND EMPLOYMENT OF KIRKLAND & ELLIS LLP
      AND KIRKLAND & ELLIS INTERNATIONAL LLP AS ATTORNEYS FOR THE
     DEBTORS AND DEBTORS IN POSSESSION EFFECTIVE AS OF AUGUST 6, 2023

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”) file

this application (this “Application”) for the entry of an order (the “Order”), substantially in the

form attached hereto as Exhibit A, authorizing the Debtors to retain and employ Kirkland & Ellis

LLP and Kirkland & Ellis International LLP (collectively, “Kirkland”) as their attorneys

effective as of the Petition Date (as defined herein). In support of this Application, the Debtors

submit the declaration of Patrick J. Nash, Jr., the president of Patrick J. Nash Jr., P.C., a partner of

Kirkland        &    Ellis   LLP,     and    a    partner    of    Kirkland      &    Ellis    International     LLP

(the “Nash Declaration”), which is attached hereto as Exhibit B and the declaration of

Matthew A. Doheny, the Chief Restructuring Officer of Yellow Corporation, which is attached

hereto as Exhibit C (the “Doheny Declaration”). In further support of this Application, the

Debtors respectfully state as follows.




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      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
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                                     Jurisdiction and Venue

       1.      The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This matter is a core

proceeding within the meaning of 28 U.S.C. § 157(b)(2), and tTIhe Debtors confirm their consent

pursuant to rule 9013-1(f) of the Local Rules of Bankruptcy Practice and Procedure of the United

States Bankruptcy Court for the District of Delaware (the “Local Rules”) to the entry of a final

order by the Court in connection with this Application to the extent that it is later determined that

the Court, absent consent of the parties, cannot enter final orders or judgments in connection

herewith consistent with Article III of the United States Constitution.

       2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The bases for the relief requested herein are sections 327(a) and 330 of title 11 of

the United States Code (the “Bankruptcy Code”), rules 2014(a) and 2016 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and rules 2014-1 and 2016-1 of the Local

Bankruptcy Rules for the District of Delaware (the “Local Rules”).

                                           Background

       4.      On August 6, 2023 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code. The Debtors are managing their

properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code. On August 9, 2023, the Court entered an order [Docket No. 169] authorizing the joint

administration and procedural consolidation of these chapter 11 cases pursuant to Bankruptcy Rule

1015(b). On August 16, 2023, the United States Trustee for the District of Delaware (the “U.S.

Trustee”) appointed an official committee of unsecured creditors pursuant to section 1102 of the

Bankruptcy Code (the “Committee”) [Docket No. 269].



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        5.     A description of the Debtors’ business, the reasons for commencing the chapter 11

cases, and the relief sought from the Court to allow for a smooth transition into chapter 11 are set

forth in the Declaration of Matthew A. Doheny in Support of Debtors’ Chapter 11 Petitions, filed

on August 7, 2023 [Docket No. 14], incorporated herein by reference.

                                                Relief Requested

        6.       By this Application, the Debtors seek entry of the Order authorizing the retention

and employment of Kirkland as their attorneys in accordance with the terms and conditions set

forth in that certain amended and restated engagement letter between the Debtors and Kirkland

effective as of July 27, 2023 (the “Engagement Letter”), a copy of which is attached hereto as

Exhibit 1 to the Order and incorporated herein by reference.

                                          Kirkland’s Qualifications

        7.       The Debtors seek to retain Kirkland because of Kirkland’s recognized expertise and

extensive experience and knowledge in the field of debtors’ protections, creditors’ rights, and

business reorganizations under chapter 11 of the Bankruptcy Code.

        8.       Kirkland has been actively involved in major chapter 11 cases and has represented

debtors in many cases, including, among others: In re PGX Holdings, Inc., No. 23-10718 (CTG)

(Bankr. D. Del. June 4, 2023); In re Lannett Company, Inc., No. 23-10559 (JKS) (Bankr. D. Del.

May 2, 2023); In re SiO2 Medical Products, No. 23-10366 (JTD) (Bankr. D. Del. Mar. 29, 2023);

In re Carestream Health, Inc., No. 22-10778 (JKS) (Bankr. D. Del. Aug. 22, 2022); In re Riverbed
                                                                                        2
Technology, Inc., No. 21-11503 (CTG) (Bankr. D. Del. Nov. 15, 2021).

        9.       In preparing for its representation of the Debtors in these chapter 11 cases, Kirkland

has become familiar with the Debtors’ business and many of the potential legal issues that may


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    Because of the voluminous nature of the orders cited in this Application, they are not attached to this Application.
    Copies of these orders are available upon request to Kirkland.

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arise in the context of these chapter 11 cases. The Debtors believe that Kirkland is both

well-qualified and uniquely able to represent the Debtors in these chapter 11 cases in an efficient

and timely manner.

                                    Services to be Provided

       10.     Subject to further order of the Court, and consistent with the Engagement Letter,

the Debtors request the retention and employment of Kirkland to render the following legal

services:

               a.     advising the Debtors with respect to their powers and duties as debtors in
                      possession in the continued management and operation of their properties;

               b.     advising and consulting on the conduct of these chapter 11 cases, including
                      all of the legal and administrative requirements of operating in chapter 11;

               c.     attending meetings and negotiating with representatives of creditors and
                      other parties in interest;

               d.     taking all necessary actions to protect and preserve the Debtors’ estates,
                      including prosecuting actions on the Debtors’ behalf, defending any action
                      commenced against the Debtors, and representing the Debtors in
                      negotiations concerning litigation in which the Debtors are involved,
                      including objections to claims filed against the Debtors’ estates;

               e.     preparing pleadings in connection with these chapter 11 cases, including
                      motions, applications, answers, orders, reports, and papers necessary or
                      otherwise beneficial to the administration of the Debtors’ estates;

               f.     representing the Debtors in connection with obtaining authority to continue
                      using cash collateral and postpetition financing;

               g.     advising the Debtors in connection with any potential sale of assets;

               h.     appearing before the Court and any appellate courts to represent the interests
                      of the Debtors’ estates;

               i.     advising the Debtors regarding tax matters;

               j.     taking any necessary action on behalf of the Debtors to negotiate, prepare,
                      and obtain approval of a disclosure statement and confirmation of a chapter
                      11 plan and all documents related thereto; and

               k.     performing all other necessary legal services for the Debtors in connection
                      with the prosecution of these chapter 11 cases, including: (i) analyzing the
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                           Debtors’ leases and contracts and the assumption and assignment or
                           rejection thereof; (ii) analyzing the validity of liens against the Debtors’
                           assets; and (iii) advising the Debtors on corporate and litigation matters.

                                          Professional Compensation

        11.        Kirkland intends to apply for compensation for professional services rendered on

an hourly basis and reimbursement of expenses incurred in connection with these chapter 11 cases,

subject to the Court’s approval and in compliance with applicable provisions of the Bankruptcy

Code, the Bankruptcy Rules, the Local Rules, and any other applicable procedures and orders of

the Court. The hourly rates and corresponding rate structure Kirkland will use in these chapter 11

cases are the same as the hourly rates and corresponding rate structure that Kirkland uses in other

restructuring matters, as well as similar complex corporate, securities, and litigation matters

whether in court or otherwise, regardless of whether a fee application is required. These rates and

the rate structure reflect that such restructuring and other complex matters typically are national in

scope and involve great complexity, high stakes, and severe time pressures.

        12.        Kirkland operates in a national marketplace for legal services in which rates are

driven by multiple factors relating to the individual lawyer, his or her area of specialization, the

firm’s expertise, performance, and reputation, the nature of the work involved, and other factors.

        13.        Kirkland’s current hourly rates for matters related to these chapter 11 cases range
              3
as follows:




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    For professionals and paraprofessionals residing outside of the U.S., hourly rates are billed in the applicable
    currency. When billing a U.S. entity, such foreign rates are converted into U.S. dollars at the then applicable
    conversion rate. After converting these foreign rates into U.S. dollars, it is possible that certain rates may exceed
    the billing rates listed in the chart herein. While the rate ranges provided for in this Application may change if
    an individual leaves or joins Kirkland, if any such individual’s billing rate falls outside the ranges disclosed above,
    Kirkland does not intend to update the ranges for such circumstances.

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                               Billing Category
                                                     4               U.S. Range
                                     Partners                      $1,195-$2,245
                                   Of Counsel                       $820-$2,125
                                   Associates                       $685-$1,395
                               Paraprofessionals                     $295-$575

        14.      Kirkland’s hourly rates are set at a level designed to compensate Kirkland fairly for

the work of its attorneys and paraprofessionals and to cover fixed and routine expenses. Hourly

rates vary with the experience and seniority of the individuals assigned. These hourly rates are
                                                                                         5
subject to periodic adjustments to reflect economic and other conditions.

        15.      Kirkland represented the Debtors during the twelve-month period before the

Petition Date, using the hourly rates listed above and in the Nash Declaration. Moreover, these

hourly rates are consistent with the rates that Kirkland charges other comparable chapter 11 clients,

regardless of the location of the chapter 11 case.

        16.      The rate structure provided by Kirkland is appropriate and not significantly

different from (a) the rates that Kirkland charges for other similar types of representations or

(b) the rates that other comparable counsel would charge to do work substantially similar to the

work Kirkland will perform in these chapter 11 cases.




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    Although Kirkland does not anticipate using contract attorneys during these chapter 11 cases, in the unlikely event
    that it becomes necessary to use contract attorneys, Kirkland will not charge a markup to the Debtors with respect
    to fees billed by such attorneys. Any contract attorneys or non-attorneys who are employed by the Debtors in
    connection with work performed by Kirkland will be subject to conflict checks and disclosures in accordance
    with the requirements of the Bankruptcy Code.
5
    For example, like many of its peer law firms, Kirkland typically increases the hourly billing rate of attorneys and
    paraprofessionals twice a year in the form of: (i) step increases historically awarded in the ordinary course on the
    basis of advancing seniority and promotion and (ii) periodic increases within each attorney’s and
    paraprofessional’s current level of seniority. The step increases do not constitute “rate increases” (as the term is
    used in the Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses Filed
    Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective November 1, 2013). As set forth in
    the Order, Kirkland will provide ten business-days’ notice to the Debtors, the U.S. Trustee, and any official
    committee before implementing any periodic increases, and shall file any such notice with the Court.

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       17.     It is Kirkland’s policy to charge its clients in all areas of practice for identifiable,

non-overhead expenses incurred in connection with the client’s case that would not have been

incurred except for representation of that particular client. It is also Kirkland’s policy to charge

its clients only the amount actually incurred by Kirkland in connection with such items. Examples

of such expenses include postage, overnight mail, courier delivery, transportation, overtime

expenses, computer-assisted legal research, photocopying, airfare, meals, and lodging.

       18.     To ensure compliance with all applicable deadlines in these chapter 11 cases, from

time-to-time, Kirkland utilizes the services of overtime secretaries. Kirkland charges fees for these

services pursuant to the Engagement Letter, which permits Kirkland to bill the Debtors for

overtime secretarial charges that arise out of business necessity.            In addition, Kirkland

professionals also may charge their overtime meals and overtime transportation to the Debtors

consistent with prepetition practices.

       19.     Kirkland currently charges the Debtors $0.16 per page for standard duplication in

its offices in the United States. Notwithstanding the foregoing and consistent with the Local Rules,

Kirkland will charge no more than $0.10 per page for standard duplication services in these

chapter 11 cases. Kirkland does not charge its clients for incoming facsimile transmissions.

Kirkland has negotiated a discounted rate for Westlaw computer-assisted legal research.

Computer-assisted legal research is used whenever the researcher determines that using Westlaw

is more cost effective than using traditional (non-computer assisted legal research) techniques.

                    Compensation Received by Kirkland from the Debtors

       20.     Per the terms of the Engagement Letter, on July 27, 2023, the Debtors paid

$1.5 million to Kirkland, which, as stated in the Engagement Letter, constituted a “special purpose

retainer” (also known as an “advance payment retainer”) as defined in Rule 1.5(d) of the Illinois

Rules of Professional Conduct and Dowling v. Chicago Options Assoc., Inc., 875 N.E.2d 1012,
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1018 (Ill. 2007). Subsequently, the Debtors paid to Kirkland additional special purpose retainer

totaling $5.55 million in the aggregate. As stated in the Engagement Letter, any special purpose

retainer is earned by Kirkland upon receipt, any special purpose retainer becomes the property of

Kirkland upon receipt, the Debtors no longer have a property interest in any special purpose

retainer upon Kirkland’s receipt, any special purpose retainer will be placed in Kirkland’s general

account and will not be held in a client trust account, and the Debtors will not earn any interest on
                                   6
any special purpose retainer.          A chart identifying the statements setting forth the professional

services provided by Kirkland to the Debtors and the expenses incurred by Kirkland in connection

therewith, as well as the special purpose retainer transferred by the Debtors to Kirkland, prior to

the Petition Date is set forth in the Nash Declaration.

        21.      Pursuant to Bankruptcy Rule 2016(b), Kirkland has neither shared nor agreed to

share (a) any compensation it has received or may receive with another party or person, other than

with the partners, associates, and contract attorneys associated with Kirkland or (b) any

compensation another person or party has received or may receive.

        22.      As of the Petition Date, the Debtors did not owe Kirkland any amounts for legal

services rendered before the Petition Date.

                                        Kirkland’s Disinterestedness

        23.      To the best of the Debtors’ knowledge and as disclosed herein and in the Nash

Declaration, (a) Kirkland is a “disinterested person” within the meaning of section 101(14) of the

Bankruptcy Code, as required by section 327(a) of the Bankruptcy Code, and does not hold or


6
    The Engagement Letter provides that Kirkland may continue to hold any remaining prepetition special purpose
    retainer during the pendency of a chapter 11 case rather than applying such special purpose retainer to postpetition
    fees and expenses. Kirkland evaluates whether to retain any remaining prepetition special purpose retainer on a
    case-by-case basis. In this particular case, Kirkland has elected not to hold any remaining prepetition special
    purpose retainer but, instead, will apply any remaining special purpose retainer to postpetition fees and expenses
    as such fees and expenses are allowed by the Court.

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represent an interest adverse to the Debtors’ estates and (b) Kirkland has no connection to the

Debtors, their creditors, or other parties in interest, except as may be disclosed in the Nash

Declaration.

       24.      Kirkland will review its files periodically during the pendency of these chapter 11

cases to ensure that no conflicts or other disqualifying circumstances exist or arise. If any new

relevant facts or relationships are discovered or arise, Kirkland will use reasonable efforts to

identify such further developments and will promptly file a supplemental declaration, as required

by Bankruptcy Rule 2014(a).

                                       Supporting Authority

       25.      The Debtors seek retention of Kirkland as their attorneys pursuant to section 327(a)

of the Bankruptcy Code, which provides that a debtor, subject to Court approval:

                [M]ay employ one or more attorneys, accountants, appraisers,
                auctioneers, or other professional persons, that do not hold or
                represent an interest adverse to the estate, and that are disinterested
                persons, to represent or assist the [debtor] in carrying out the
                [debtor]’s duties under this title.

11 U.S.C. § 327(a).

       26.      Bankruptcy Rule 2014(a) requires that an application for retention include:

                [S]pecific facts showing the necessity for the employment, the name
                of the [firm] to be employed, the reasons for the selection, the
                professional services to be rendered, any proposed arrangement for
                compensation, and, to the best of the applicant’s knowledge, all of
                the [firm’s] connections with the debtor, creditors, any other party
                in interest, their respective attorneys and accountants, the United
                States trustee, or any person employed in the office of the United
                States trustee.

Fed. R. Bankr. P. 2014.

       27.      The Debtors submit that for all the reasons stated above and in the Nash

Declaration, the retention and employment of Kirkland as counsel to the Debtors is warranted.

Further, as stated in the Nash Declaration, Kirkland is a “disinterested person” within the meaning
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of section 101(14) of the Bankruptcy Code, as required by section 327(a) of the Bankruptcy Code,

and does not hold or represent an interest adverse to the Debtors’ estates and has no connection to

the Debtors, their creditors, or other parties in interest, except as may be disclosed in the Nash

Declaration.

                                               Notice

       28.      The Debtors will provide notice of this Application to: (a) the U.S. Trustee; (b) the

Committee and Akin Gump Strauss Hauer & Feld LLP as counsel to the Committee; (c) the office

of the attorney general for each of the states in which the Debtors operate; (d) United States

Attorney’s Office for the District of Delaware; (e) the Internal Revenue Service; (f) the United

States Securities and Exchange Commission; (g) the Junior DIP Lender and counsel thereto;

(h) the Junior DIP Agent and counsel thereto; (i) White & Case LLP, as counsel to the B-2

Lenders; (j) the Prepetition ABL Agent and counsel thereto; (k) the B-2 Agent and counsel thereto;

(l) the Prepetition UST Tranche A Agent and counsel thereto; (m) the Prepetition UST Tranche B

Agent, and counsel thereto; (n) the United States Department of Justice and Arnold & Porter Kaye

Scholer LLP as counsel to the United States Department of the Treasury; and (o) any party that

has requested notice pursuant to Bankruptcy Rule 2002 (collectively, the “Notice Parties”). A

copy of this Application is also available on the website of the Debtors’ notice and claims agent at

https://dm.epiq11.com/case/yellowcorporation. In light of the nature of the relief requested, no

other or further notice need be given.

                                         No Prior Request

       29.      No prior request for the relief sought in this Application has been made to this or

any other court.




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       WHEREFORE, the Debtors respectfully request that the Court enter the Order,

substantially in the form attached hereto as Exhibit A, granting the relief requested herein and

granting such other relief as is just and proper.

 Dated: August 30, 2023                                    /s/ Matthew A. Doheny
        Wilmington, Delaware                               Matthew A. Doheny
                                                           Yellow Corporation
                                                           Chief Restructuring Officer




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